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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                          SOUTHERN DIVISION (GREENBELT)


 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION, JOHN J. HURRY,
 TIMOTHY B. DIBLASI, and DARRELL
 MICHAEL CRUZ,

                        Plaintiffs,



                v.                                   Civil Action No. 8:16-cv-00860-DKC



 FINANCIAL INDUSTRY REGULATORY
 AUTHORITY, INC.,

                        Defendant.



                    MOTION TO DISMISS OF DEFENDANT,
             FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.
                PURSUANT TO FED. R. CIV. P. 12(b)(1) AND 12(b)(6)


       Defendant Financial Industry Regulatory Authority, Inc. ("FINRA") files this Motion to

Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6). The district court

lacks subject matter jurisdiction because Plaintiffs’ challenge to the underlying FINRA

disciplinary proceeding is subject to the exclusive review process set forth in the Securities

Exchange Act of 1934, wherein they must exhaust their administrative remedies at FINRA and

the SEC before seeking judicial review exclusively in the Court of Appeals. Additionally, the

Complaint must be dismissed because it fails to state a claim upon which relief can be granted.
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       FINRA refers the Court to the accompanying Combined Brief of Defendant Financial

Regulatory Authority, Inc. in Support of Motion to Dismiss and in Opposition to Plaintiffs’

Motion for Preliminary Injunction.



DATED:        April 11, 2016
              Washington, D.C.




                                            FINANCIAL INDUSTRY REGULATORY
                                            AUTHORITY, INC.


                                            By:     /s/ Terri L. Reicher
                                                    Terri L. Reicher

                                            Terri L. Reicher, Bar No. 04029
                                            1735 K Street, N.W.
                                            Washington, D.C. 20006
                                            Telephone: (202) 728-8967
                                            Facsimile: (202) 728-8894
                                            Terri.Reicher@finra.org


                                                    /s/ Timothy W. Mountz
                                                    Timothy W. Mountz

                                            Timothy W. Mountz
                                            Pro Hac Vice Pending
                                            1735 K Street, N.W.
                                            Washington, D.C. 20006
                                            Telephone: (202) 728-8210
                                            Facsimile: (202) 728-8894
                                            Timothy.Mountz@finra.org

                                            Attorneys for Defendant,
                                            FINANCIAL INDUSTRY REGULATORY
                                            AUTHORITY, INC.



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                               CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 11th day of April, 2016, I filed a copy of the foregoing Motion

to Dismiss, with accompanying Combined Brief in Support of Motion to Dismiss and In

Opposition to Motion for Preliminary Injunction, proposed form of Order, and Rule 7.1

Disclosure with the Court’s ECF system.



                                           By:    /s/ Terri L. Reicher
                                                  Terri L. Reicher
